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   EXHIBIT B
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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA




In re: Lindell Management LLC Litigation      Case No. 23-cv-1433 (JRT/DJF)


                                               REQUEST FOR PRODUCTION
                                               OF DOCUMENTS IN AID OF
                                               EXECUTION


              REQUESTS FOR PRODUCTION OF DOCUMENTS
           TO JUDGMENT DEBTOR LINDELL MANAGEMENT LLC

      Pursuant to Federal Rules of Civil Procedure 26, 34, and 69, Robert Zeidman

submits his first set of requests for production of documents in aid of

judgment/execution to Debtor Lindell Management LLC (“Lindell”) and requests

that Lindell provide written answers and produce documents within thirty (30) days.

                                  DEFINITIONS

      1.     The terms “you,” “your,” and “Lindell” mean Lindell Management

LLC, its subsidiaries, divisions, predecessor and successor companies, affiliates, any

partnership or joint venture to which it may be a party, and/or each of its employees,

agents, officers, directors, representatives, consultants, accountants, and attorneys,

including any person who served in any such capacity at any time during the relevant

time period specified herein.
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      2.     The terms “revenue” or “income” mean any and all money, earnings,

revenue, or payments of any kind that you received in any form, whether in cash or

by check, credit or debit card, electronic transfer, or otherwise, including but not

limited to payments for goods and services, payments on accounts receivable, loan

repayments, interest income, rents, royalties, license fees, commissions, dividends,

distributions, payments concerning sales of assets, equipment, or inventory,

payments on contracts, or any other payment or remuneration you received in

connection with the operation of your business.

      3.     The term “asset” means any property or thing of value you owned,

claimed, or held any interest in, in whole or in part, including any and all real

property, tangible personal property including cash, vehicles, goods, inventory,

machinery, equipment, trade fixtures, office equipment, supplies, and computer

systems and networks, and intangible personal property including goodwill,

contracts, accounts receivable, notes receivable, stocks, bonds, and other securities,

ownership interest in any other entities such as subsidiary corporations, general or

limited partnerships, and joint ventures, intellectual property rights including

copyrights, patents, trademarks, and trade names, and insurance policies which you

own or which name you as an insured.

      4.     “And” and “or” mean “and/or” and shall be construed in the conjunctive

or disjunctive, whichever makes the given request more inclusive.



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      5.     The term “communication(s)” shall mean any oral or written exchange

of words, thoughts, or ideas with any other person or entity, whether in person, in a

group, by telephone, by letter, by fax, by electronic mail, by text message, by instant

message, or otherwise. “Communication(s)” shall include, without limitation,

correspondence,    conversations,    dialogues,      discussions,   consultations,   and

documents of any type.

      6.     “Concerning” means about, regarding, containing, relating to,

reflecting, referencing, recording, discussing, mentioning, noting, evidencing,

memorializing, analyzing, describing, commenting upon, referring to, having any

connection with, supporting, contradicting, or having any tendency to prove or

disprove the matters set forth in a given request.

      7.     The term “document” shall have the broadest meaning permitted by the

Superior Court Civil Rules and includes, without limitation, all originals, copies (if

the originals are not available), non-identical copies (whether different from the

original because of underlining, editing marks, notes made on or attached to such

copy or otherwise) and drafts of the following items, whether printed or recorded

(through a sound, video or other electronic, magnetic or digital recording system) or

reproduced by hand, whether or not claimed to be privileged or confidential,

including but not limited to letters, correspondence, telegrams, telexes, memoranda,

records, diaries, summaries of personal conversations or interviews, expressions or



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statements of policy, lists of persons attending meetings or conferences, reports or

summaries of meetings, minutes or records or notes of meetings or conferences,

reports or summaries of investigations, opinions of counsel, reports or summaries of

either negotiations within or without the corporation or preparations for such, note

pads, postcards, “Post-It” notes, stenographic notes, notes, notebooks, opinions or

reports of financial advisors or consultants, opinions or reports of experts,

projections, financial or statistical statements or compilations, contracts,

agreements, appraisals, analyses, purchase orders, bills of sale, confirmations,

publications, articles, books, pamphlets, circulars, microfilm, microfiche, reports,

studies, logs, surveys, reports to shareholders, instruments, circulars, press releases,

drafts of any document, accounts, diaries, calendars, appointment books, maps,

charts graphs, bulletins, photostats, speeches, brochures, manuals, data sheets,

pictures, photographs, illustrations, blueprints, films, drawings, plans, tape

recordings, videotapes, disks, diskettes, data tapes or readable computer-produced

interpretations or transcriptions thereof; electronic communications including but

not limited to email and/or text messages, voice mail messages, telegraphic

messages, faxes, interoffice communications, advertising, packaging and

promotional materials, and any other writings, papers and tangible things of

whatever description whatsoever, including but not limited to any information

contained in any computer, server, mainframe, or other storage device (including (i)



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information on or in computer memory, (ii) information on or in computer or

network backup files, and (iii) information that has been “deleted” or “erased” but

is recoverable) whether located on-site or at an offsite facility, within your

possession, custody or control. Any comment or notation appearing on any

document, and not a part of the original text, is to be considered a separate

“document.” The term “document” also includes electronically stored information

(“ESI”).

      8.     The term “ESI” means electronically stored information or data that is

generated, received, processed, and recorded by computers and other electronic

devices, and includes, without limitation, system metadata (e.g., author, recipient,

file creation date, file modification date) and user-generated metadata (e.g.,

spreadsheet formulas). ESI further includes, without limitation, the following:

(i) output resulting from the use of any software program, such as word processing

documents, spreadsheets, database files, charts, graphs, and outlines, (ii) electronic

mail and text messages, (iii) message logs from Google Chat, WhatsApp, Slack,

AOL Instant Messenger, Instant Bloomberg, Facebook, Twitter, and similar

programs, (iv) audio and video files, (v) internal (intranet) or external websites and

(vi) activity listings of electronic mail receipts and/or transmittals. ESI includes

electronic information or data wherever it resides, including, without limitation,

(i) in an active file on a computer network or individual computer hard drive, (ii) in



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a deleted file or file fragment, (iii) on backup/storage media, (iv) on removable

media, such as a floppy disk, memory stick, portable hard drive, or zip drive and

(v) on a smart phone or personal digital assistant. ESI also includes documents,

containers, and labels appended to or concerning any physical storage device

associated with responsive electronic information or data.

      9.     The verb “concern” and its variants encompass the terms “refer,”

“reflect,” and “relate,” and shall be construed to bring within the scope of the request

all documents that comprise, evidence, constitute, describe, explicitly or implicitly

refer to, were reviewed in conjunction with, or were generated as a result of, the

subject matter of the request, including but not limited to all documents that reflect,

record, memorialize, discuss, evaluate, consider, review, report, support,

demonstrate, show, study, describe, analyze, embody, mention, contradict, or result

from the matter specified, or otherwise evidence, the existence of the subject matter

of the request.

      10.    To the extent necessary to bring within the scope of the requests below

any information or document that might otherwise be construed to be outside said

scope, the word “any” means “any and all,” and the word “all” means “any and all.”

      11.    Pronouns shall be construed to refer to the masculine, feminine or

neuter gender, in singular or plural, as in each case is most appropriate.

      12.    “Including” means “including but not limited to.”



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                                   INSTRUCTIONS

      1.       These requests are to be considered continuing in nature, and, therefore,

answers should be modified or supplemented as you obtain further or different

information.

      2.       You are instructed to produce documents in your custody, possession

or control and in the custody, possession or control of your employees, agents,

representatives, contractors, attorneys, accountants, investigators, experts, or other

persons or entities acting on your behalf.

      3.       ESI shall be produced in searchable electronic format with a standard

metadata load file (DAT or CSV) with UTF-8 encoding and an image load file that

is in either OPT or LFP format. Load files will include a separate folder containing

multi-page PDF images at a resolution of at least 300 dpi (native format production

is also acceptable). Each document, whether produced in native or in PDF format,

and whether originally existing in electronic or in hard copy, shall be produced with

extracted text or OCR in a separate document-level, UTF-8 with BOM encoded TXT

files provided in a separate folder. Production load files shall be produced on

CDROMs, DVDROMs, portable or external hard drives or other widely-used

electronic or optical storage media (electronic file transfer is also acceptable). All

Microsoft Excel and PowerPoint documents, as well as other documents that

constitute spreadsheets, data sets, and like materials, shall be produced in native



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format with a PDF placeholder image, and Mr. Zeidman reserves the right, as

needed, to seek production of additional documents, communications, or categories

of documents or communications in native format. The Parties will meet and confer

on the production of other file types (e.g., CAD drawings) if such files are included

with the productions. Each native and PDF file shall be named with a unique

production number followed by the applicable file extension. In addition, each text

file shall be named with the unique production number of the corresponding native

or PDF image, followed by the extension “.TXT.” Each media produced shall be

uniquely named with a sequential number that includes a unique identifier. All

responsive electronic documents and communications shall be produced with

sufficient metadata to convey where these items begin and end (including

attachments), the original file name, and the original timestamps and attributes,

including the following metadata fields: “Begin Doc,” “End Doc,” “Family ID,”

“Begin family,” “End family,” “Begin Attach,” “End Attach,” “Email From,”

“Email To,” “Email CC,” “Email BCC,” “Email Subject,” “Email Date Sent,”

“Email Time Sent,” “Custodian,” “File Name” (preferably with extension), “File

Author,” “File Path,” “File Date Created,” “File Date Last Modified,” “Native File

Link,” and “Text File Link.”

      4.     You are to produce entire documents, including attachments,

enclosures, cover letters, memoranda and appendices.



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      5.     If any of the documents requested were, but are no longer, in your

possession or subject to your control, state whether the document (i) is missing or

lost; (ii) has been destroyed; (iii) has been transferred voluntarily or involuntarily to

any other person or entity; or (iv) has been otherwise disposed of, and, in each

instance, explain the circumstances surrounding the authorization thereof and

identify any persons having any knowledge of such disposition, identify the persons

responsible for such disposition, and provide a description of the nature, content,

date, author(s), and recipient(s) of each document.

      6.     Where a responsive document has been discarded, destroyed, is no

longer available or is alleged to have been discarded, destroyed or no longer

available, state the reasons for its absence or destruction, the names of the persons

having any knowledge of and the persons responsible for discarding or destroying

the document.

      7.      If any form of privilege or other protection from disclosure is claimed

as a ground for withholding a document requested to be produced or identified, set

forth with respect to the document the date, title, identity of the author, subject matter

and each and every fact or basis on which you claim your privilege, with sufficient

specificity to permit the Court to make a determination as to whether the claim of

privilege is valid.




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      8.      If any request is objected to on grounds of overbreadth, you are

instructed to respond to the request as narrowed to conform to your objection within

the period allowed for a response.

      9.      Unless otherwise stated, the relevant time period for these requests is

from January 24, 2018 to the present.

                         REQUESTS FOR PRODUCTION

      1.      All documents concerning the nature of your business during the

relevant time period, including but not limited to:

           a. Documents identifying the name and address of your business.

           b. Articles of incorporation or organization, partnership and/or joint
              venture agreements, charters, bylaws, corporate minute books, and
              other documents concerning the formation of any business entity in
              which you owned an interest, either directly or indirectly, during the
              relevant time period.

           c. Documents identifying all shareholders, directors, officers, partners,
              members, managers, or other owners or operators of any business entity
              in which you owned an interest, either directly or indirectly, during the
              relevant time period.

           d. Documents identifying the name, address, and state of incorporation or
              organization of any parent, subsidiary, division, general partner, joint
              venturer, or affiliate of any business entity in which you owned an
              interest, either directly or indirectly, during the relevant time period.

      2.      All documents concerning your revenue during the relevant time

period, including but not limited to:

           a. Documents evidencing all sources of income, revenue, or remuneration
              of any kind, including payments for goods and services, interest

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              income, operating income, payments on accounts receivable,
              commissions, agency fees, loan repayments, rents, royalties, license
              fees, dividends, distributions, payments concerning sales of assets,
              equipment, or inventory, payments on contracts, or any other payment
              or remuneration you received in connection with the operation of your
              business.

           b. State and federal income tax returns, and all related forms and
              schedules (including all amended returns, forms, and schedules) filed
              during or concerning the relevant time period.

           c. Financial statements, balance sheets, income statements, cash flow
              statements, and loan applications prepared or submitted by you or on
              your behalf during the relevant time period.

      3.      All documents concerning your assets during the relevant time period.

      4.      All documents identifying your routine expenses, including but not

limited to: operating costs; rental obligations; payroll and benefits; outstanding

loans; installment payments; mortgage payments; loan payments and financing

charges on vehicles, equipment, and supplies; payments due under contracts; royalty

payments and license fees; commissions owed to brokers, dealers, or representatives;

legal, accounting, and other professional fees; advertising and marketing costs; and

other routine debts and expenses that occur on a regular basis.

      5.      All documents concerning any debts you owed or incurred during the

relevant time period, including but not limited to:

           a. Documents identifying the name of the creditor, the amount owed,
              when the debt was incurred and for what reason, whether all or any
              portion of the debt was paid, when all or any portion was paid, and any
              remaining balance on all such debts.



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           b. Documents on which each such debt is based, including contracts, bills,
              invoices, statements, agreements, mortgages, loan agreements, and all
              correspondence and other documents comprising, memorializing, or
              evidencing communications concerning each such debt.

           c. Documents concerning or evidencing any payment you made on any
              such debts.

      6.      Documents concerning any effort to collect any debt from you by any

creditor, collection agency, attorney, or other party acting on behalf of any creditor,

including demand letters, default notices, forbearance agreements, collection letters,

liens, lis pendens, lawsuits, judgments, petitions, complaints, summonses, or other

legal process.

      7.      All documents concerning any real property you currently own, hold,

or claim any type of interest in, directly or indirectly, in whole or in part, or owned,

held, or claimed any type of interest in, directly or indirectly, in whole or in part,

during the relevant time period, including any and all: real estate contracts (purchase

or sale; deeds; appraisals; leases; licenses; easements; rights of way; trusts; liens,

mortgages, deeds in trust, or other encumbrances; escrow agreements; and other

documents concerning any such ownership interest.

      8.      All bank statements or other account statements for any account which

you currently own, hold, or claim any type of interest in, directly or indirectly, in

whole or in part, or owned, held, or claimed any type of interest in, directly or




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indirectly, in whole or in part, during the relevant time period, at any bank,

brokerage, investment firm, or other financial institution.

      9.       All communications concerning any account identified in response to

Request No. 8 above.

      10.      All documents concerning vehicles, aircrafts, boats, or other water

vessels you currently own, hold, or claim any type of interest in, directly or

indirectly, in whole or in part, or owned, held, or claimed any type of interest in,

directly or indirectly, in whole or in part, during the relevant time period, including

but not limited to:

            a. Titles, licenses, and registrations.

            b. Sales contracts, bills of sale, and other documents concerning your
               purchase or ownership of the vehicle, aircraft, boat, or water vessel.

            c. Financing documents, loan documents, security agreements, and all
               other evidence of any other party’s lien on or interest in the vehicle,
               aircraft, boat, or water vessel.

            d. Documents concerning or evidencing the location of the vehicle,
               aircraft, boat, or water vessel.

      11.      All documents concerning any and all other tangible corporate property

with a value over $5,000 which you currently own, hold, or claim any type of interest

in, directly or indirectly, in whole or in part, or owned, held, or claimed any type of

interest in, directly or indirectly, in whole or in part, during the relevant time period,

including but not limited to: goods; equipment and machinery; inventory; trade



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fixtures; tools; office equipment and furniture; computer equipment and networks;

furnishings, appliances, electronics, computer equipment, televisions, stereos,

audiovisual equipment, and fixtures; jewelry, artwork, antiques, and collectibles;

clothing; cash; precious metals; appraisals, invoices, bills of sale, and other

documents concerning or evidencing the value, purchase, receipt, possession, or

ownership of any such tangible personal property; and all documents concerning or

evidencing any other party’s interest in or claim to any of your tangible personal

property, including all debts or liabilities secured by, or liens, security interests, or

other encumbrances in, on, or against the property.

      12.    Documents sufficient to identify all of your affiliates, subsidiaries,

parent companies, or any other company that has or claims an interest in Lindell

Management LLC, including the name, address or location, and state or country of

incorporation or organization of any such entity, and the nature of your affiliation or

corporate or other organizational relationship with any such entity.

      13.    All documents concerning any corporation, subsidiary, limited liability

company, trust, partnership, or other business entity of any kind or nature in which

you currently own, hold, or claim any type of interest in, directly or indirectly, in

whole or in part, or in which you owned, held, or claimed any type of interest in,

directly or indirectly, in whole or in part, during the relevant time period, including

but not limited to:



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            a. Articles of incorporation or organization, charters, bylaws, partnership
               agreements, shareholder agreements, or other formational documents
               evidencing the existence of the entity.

            b. All stock certificates or other documents concerning or evidencing your
               ownership of shares, units, membership interests, partnership interests,
               or other ownership interest in the entity.

            c. Corporate minute books, minutes of organizational meetings, or
               documents concerning or evidencing the entity’s organization,
               ownership, managerial structure, and adherence to corporate or other
               organizational formalities.

            d. Appraisals, valuations, and other documents concerning or evidencing
               the value of your ownership interest in any such entity.

      14.      All documents concerning any and all intangible property with a value

over $5,000 you currently own, hold, or claim any type of interest in, directly or

indirectly, in whole or in part, or owned, held, or claimed any type of interest in,

directly or indirectly, in whole or in part, during the relevant time period, including

but not limited to any and all: contracts; security agreements; stocks, bonds, or other

evidence of ownership, equity, or investment in any business entity; patents,

copyrights, trademarks, or other evidence of intellectual property rights; accounts

receivable; notes receivable; corporate goodwill; research and development;

retirement, pension, 401(k), and IRA accounts; annuities; crypto currency; and all

documents concerning or evidencing any other party’s interest in or claim to any of

your intangible personal property, including all debts or liabilities secured by, or

liens, security interests, or other encumbrances in, on, or against the property.



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      15.      All documents concerning policies of insurance you currently own,

hold, or claim any type of interest in, directly or indirectly, in whole or in part, or

were covered under during the relevant time period, including but not limited to any

and all policies, contracts, notices, amendments, modifications, and renewals of any

such policy.

      16.      If you claim that any of your revenue, income, or assets are exempt

from collection, all documents evidencing the basis for such exemption.

      17.      Documents concerning any and all debts or liabilities owed to you by

third parties, including, but not limited to, all claims, causes of action, lawsuits,

judgments, or liens you now have or had at any time during the relevant time period

against any third party.

      18.      All documents concerning or evidencing any third party’s possession,

ownership, or control of any of your assets, in whole or in part, including but not

limited to:

            a. Contractual agreements, including all drafts and markups.

            b. Certificates of title or deeds.

            c. Publicly filed documents concerning the third party’s possession or
               ownership interest.

            d. Correspondence, internal memoranda, notes, or other records
               concerning the third party’s possession or ownership interest.




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      19.      All documents concerning or evidencing any transaction in which you

transferred any interest in any of your assets over the value of $5,000, in whole or in

part, to any transferee during the relevant time period, including but not limited to:

            a. Contractual agreements, including all drafts and markups.

            b. Certificates of title or deeds.

            c. Publicly filed documents concerning the transaction.

            d. Correspondence, internal memoranda, notes, or other records
               concerning the transaction.

      20.      All documents you provided to any transferee in connection with any

due diligence they conducted before engaging in any transaction identified in

Request No. 19 above.

Dated: February 22, 2024

                                           BAILEY & GLASSER LLP

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